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         CONTINUATION IN SUPPORT OF CRIMINAL COMPLAINT & SEARCH
                               WARRANT
        I, Justin D. Chamberlain, Special Agent for the Bureau of Alcohol, Tobacco, Firearms

 and Explosives (“ATF”), being first duly sworn, on oath, hereby depose and state as follows:

                              Introduction and Agent Background


       1.      I make this affidavit in support of:

               a.      a criminal complaint for Wolf Barrette Harper for the crimes of 18 U.S.C.

       922(o) (unlawful transfer or possession of a machinegun) and 26 U.S.C. § 5845

       (possession of a firearm required to be registered in the National Firearms Registration

       and Transfer Record); and

               b.      a search warrant for Harper’s residence, located at 1142 Dakin Street,

       Lansing, Michigan, 48912 (“Target Residence”) for evidence, fruits, and instrumentalities

       of violations, or attempted violations, of 18 U.S.C. § 922(o) (unlawful transfer or

       possession of a machinegun), 18 U.S.C. § 922(a)(1)(A) (unlicensed dealing in firearms),

       and 26 U.S.C. § 5845 (possession of a firearm required to be registered in the National

       Firearms Registration and Transfer Record).

       2.      I am employed as a Special Agent with the Bureau of Alcohol, Tobacco, Firearms

and Explosives and have served in this capacity since December 2013. Prior to being an ATF

Special Agent, I was a Border Patrol Agent with the United States Border Patrol for nine years.

During this role, I worked in three duty stations: (1) Deming, New Mexico; (2) Massena, New

York; and (3) Ogdensburg, New York. I completed a training course at the Federal Law

Enforcement Training Center, where I learned how to conduct complex investigations involving

firearm trafficking. As part of my duties as an ATF Special Agent, I investigate criminal

violations relating to federal firearms offenses. During my career, I have participated in numerous


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firearms trafficking investigations, involving illegal manufacture and sale of handguns and

machineguns. Additionally, my firearms trafficking investigations often result in execution of

federal search warrants, seeking physical, and digital evidence identifying unlicensed individuals

manufacturing and distributing firearms. As a result, I am familiar with how unlicensed

manufacturers distribute firearms, to include firearms regulated by the National Firearms Act,

and required to be registered in the National Firearms Registration and Transfer Record (NFRTR)

to unlawful possessors and/or accomplices.

       3.      I currently work in conjunction with other federal, state, and local law enforcement

agencies to investigate crimes involving firearms. These crimes are, often, violent in nature and

revolve around the illegal use of firearms in furtherance of violent crime or drug trafficking. As

such, I am a “federal law enforcement officer,” within the meaning of Federal Rule of Criminal

Procedure 41(a)(2)(c), that is, an officer of the United States who is empowered by law to conduct

investigations of and to make arrests for federal criminal offenses and make requests for warrants.

       4.      The facts in this affidavit come from my personal observations, training,

experience, and information obtained from special agents, task force officers, police officers,

detectives, and witnesses. This affidavit is intended to show that there is sufficient probable cause

for the criminal complaint and does not set forth all information developed from the investigation.

                                              Summary

       5.      In October of 2024, Harper sold 74 machinegun conversion devices, commonly

referred to as “drop in auto-sears,” one short-barreled rifle, and a silencer to an ATF undercover

(“UC”) agent. Agents have conducted surveillance at the Target Residence. In September 2024,

Harper was seen outside the Target Residence. On two occasions in October of 2024,

investigators saw Harper depart the Target Residence, in a vehicle registered to Harper, and

meet with an ATF UC agent. During the encounters with the UC agent, Harper explained he can

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manufacture as many drop-in auto sears as the agent can sell. Harper disassembled a silencer and

explained how various silencers can be shortened or made longer for various applications. Harper

demonstrated how to install a silencer on a short-barreled rifle. Harper told the UC agent he has

made other machine gun conversion devices, also known as “Glock switches,” and has ordered

Glock switches to compare for functionality and quality.

                                        Probable Cause

       6.      In August of 2024, I spoke with a CS. The CS stated that he/she has known Harper

for more than six months. The CS stated that Harper informed him/her that he manufacturers and

sells firearms, silencers and auto sears. The CS stated that Harper told him/her that he regularly

utilizes his 3D printer to manufacture parts and pieces to assemble firearms. According to the CS,

during the summer of 2024, he/she was inside Harper’s house and observed silencers and short

barreled rifles. The CS described Harper’s house as a single-family residence, located on 1142

Dakin Street, Lansing, MI, 48912.


       7.      The CS also informed ATF that he/she knows (541) XXX-6881 to be Harper’s

cellular telephone number (hereinafter, “Harper’s phone”). The CS informed agents that he/she

has spoken with a male voice on Harper’s phone and recognizes the voice to be Harper’s voice.


       8.      On August 30 of 2024, I queried Wolf Barrette Harper in the National Firearms

Registration and Transfer Record (NFRTR). There were no records associated to Harper.


       9.      In September of 2024, ATF agents from the Lansing Field Office observed a blue,

Ford F-150 (MI-XXX 1169). A license plate query revealed the vehicle was registered to Wolf

Barrette Harper, 1142 Dakin Street, Lansing MI, 48912 (Target Residence).




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       10.     In September of 2024, I observed a white male exit the Target Residence, and

stand on the front porch for several minutes, I recognized the male, from a Michigan Secretary of

State driver’s license photograph, to be Harper.


       11.     In the first week of October 2024, agents and investigators from the Lansing Police

Department observed Harper leave the Target Residence and drive his blue, Ford F-150 to a

nearby commercial business in Lansing, where he sold an ATF agent, operating in an undercover

(UC) capacity, (20) machine gun conversion devices, commonly referred to as “drop in auto sears,”

for $3,000.00 USD. Harper told the UC agent he manufactures the sears and can make as many

as the agent orders. The agent ordered (50) additional auto-sears from Harper to be purchased at

a later date. During the transaction the UC agent observed what appeared to be a firearm in

Harper’s waist band. After the transaction, investigators observed Harper drive his vehicle back

to the Target Residence.


       12.     Days after the UC purchase of auto-sears, Harper contacted the agent on the

Telegram app. Harper said he had the (50) auto-sears the agent had ordered previously, and can

have more made, if the agent needed them. Harper said he had “some other things” to show the

agent. Harper sent several photos of firearms he had manufactured. The agent asked if they were

ghost guns (Privately Made Firearms (PMF)) and Harper replied, “They all are.” Harper also

included a picture of a silencer, and said he had modular cans (silencers) with boosters for 5.7- and

5.56-mm. Harper added, he has cans for pretty much any caliber of firearm. Harper said he 3D-

prints the ghost guns and prints cans as well. The agent asked if anything was for sale and Harper

replied, “everything is for sale depending on the right price.” Harper said he had an AR9 and

AR15 with silencers for sale. Harper said the silencer sell for $2,500.00 and the AR ghost guns

are $5,000.00 but he would sell one of the ARs, with silencer for $6,000.00.


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       13.     On October 21 of 2024, investigators observed Harper leave the Target Residence

carrying a large, blue duffle bag. Harper got into his blue, Ford F-150 and drove to a predetermined

location in Lansing where Harper met with an ATF agent operating in an undercover capacity.

Harper was seen exiting his truck with the blue duffle bag and getting into the UC agent’s vehicle.

Harper sold the UC agent (54) auto-sears, a short-barreled rifle and a silencer for $8,000.00. Harper

demonstrated how the silencer affixes to the short-barreled rifle. Harper said he shoots the silencer

and that they are very quiet. Harper explained he manufactures other machine gun conversion

devices, commonly referred to as “Glock switches,” however they are not very good. Harper

explained to the agent he orders parts from a “supplier” in China. Harper brought a second firearm,

but the agent was unable to purchase the firearm.


       14.     I measured the short-barreled rifle purchased from Harper the previous day. The

barrel, as measured from the end of the barrel (not including the threaded adapter for the silencer)

to the breach measured 4” in length. The rifle had an overall length of 20 ½ inches. The firearm

has a butt stock affixed to the rear of the firearm allowing the firearm to be fired from the shoulder

mounted position. I believe this firearm meets the short-barreled rifle definition and, as such, is

regulated by the National Firearms Act (NFA). I also determined that the majority of the parts

from the purchased AR rifle were 3D printed and of polymer material. The amount of metal used

in the manufacturing of the firearm was minimal and may not meet the requirement for a

detectable firearm. I compared the devices purchased, by the undercover agent, from Harper,

with similar devices seized by the ATF and determined to be auto-sears (machine guns). I found

the devices to be similar in size, shape and material.

       15.     Each of the auto-sears that Harper sold to the UC is a part designed and intended

solely and exclusively, or combination of parts designed and intended, for use in converting a


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weapon to shoot automatically more than one shot, without manual reloading, by a single function

of the trigger. Each auto-sear, by itself, is also considered a firearm under federal law.

                                       Training & Experience

       16.     Based on my training and experience, I know that individuals who possess firearms

often possess other items commonly used or acquired in connection with the possession of

firearms. Some of these items include, but are not limited to other firearms, firearm parts,

ammunition, firearm receipts, firearms brochures or owner’s manuals, records of sale or

acquisition of firearms, firearms magazines, and holsters. Firearms manufacturers who

manufacture undetectable (ghost guns/ PMF) acquire and use other items specific to the trade.

Such items include 3D printers, reels of polymer plastic, laptops, computer hard drives, jump

drives, thumb drives and various other media storage devices.


       17.      Firearms are durable and non-perishable goods, which can be expected to remain

in the individual’s possession for extended periods of time. Unlicensed firearms manufacturers,

and dealers often sell their firearms to prohibited individuals who are unable to legally obtain a

firearm by means of a licensed manufacturer or dealer. The manufacturer/ dealer relies on word of

mouth from these street customers to build a customer list. Illegally manufactured firearms lack

the required markings (serial numbers) enabling the firearms to be traced. These unmarked

firearms, commonly referred to as “ghost guns” end up being used in violent crimes.


       18.     I know that individuals who engage in crimes, including illegal firearms

manufacturing and trafficking, often use cell phones to facilitate or further their criminal activities,

or maintain evidence of their criminal activities stored on their cell phones. Firearms traffickers

commonly use cell phones to facilitate firearms transactions, maintain numbers for customers,

suppliers, and/or associates, and store other information used in furtherance of their ongoing


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firearms business. Firearms manufacturers commonly order parts, pieces, and track their orders

through a variety of online sites.


       19.     I also know that most individuals in contemporary America carry their cell phones

on their person day and night, and cell phones, including “smartphones,” play an integral role in

the daily lives of individuals, including individuals engaging in many types of crimes. For

example, persons involved in illegal distribution of firearms commonly use their cell phones to

communicate with each other (including sources of supply and customers) in a variety of ways to

facilitate firearms transactions, including through the use of voice calls, text messages, voicemail

messages, emails, social media messages, and/or other electronic means.


       20.     Based on my training and experience, I know that a cell phone is a handheld

wireless device used for voice and data communication through radio signals. Cell phones send

signals through networks of transmitter/receivers, enabling communication with other cell phones

or traditional “land line” telephones. A cell phone usually contains a “call log,” which records the

telephone number, date, and time of calls made to and from the phone. In addition to enabling

voice communications, cell phones offer a broad range of capabilities including: storing names

and phone numbers in electronic “address books;” sending, receiving, and storing text messages

and e-mail; taking, sending, receiving, and storing still photographs and moving video; storing and

playing back audio files; storing dates, appointments, and other information on personal calendars;

and accessing and downloading information from the Internet. Cell phones may also include global

positioning system (“GPS”) technology for determining the location of the device.


       21.     Based on my knowledge, training, and experience, I also know that electronic

devices, including cell phones, can store information for long periods of time. Similarly, things



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that have been viewed via the Internet are typically stored for some period of time on the device.

This information can sometimes be recovered with forensics tools.


       22.     Based on my knowledge, training, and experience, I know that electronic devices

can store information for long periods of time. Similarly, things that have been viewed via the

internet are typically stored for some period of time on the device. This information can sometimes

be recovered with forensics tools.


       23.     Forensic evidence. As further described in Attachment B, this application seeks

permission to locate not only electronically stored information that might serve as direct evidence

of the crimes described on the warrant, but also forensic evidence that establishes how the

electronic devices were used, the purpose of its use, who used it, and when. There is probable

cause to believe that this forensic electronic evidence may be on the electronic devices because:


               a.     Data on the storage medium can provide evidence of a file that was once

       on the storage medium but has since been deleted or edited, or of a deleted portion of a

       file (such as a paragraph that has been deleted from a word processing file).

               b.     Forensic evidence on a device can also indicate who has used or controlled

       the device. This “user attribution” evidence is analogous to the search for “indicia of

       occupancy” while executing a search warrant at a residence.

               c.     A person with appropriate familiarity with how an electronic device works

       may, after examining this forensic evidence in its proper context, be able to draw

       conclusions about how electronic devices were used, the purpose of their use, who used

       them, and when.

               d.     The process of identifying the exact electronically stored information on a

       storage medium that are necessary to draw an accurate conclusion is a dynamic process.

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       Electronic evidence is not always data that can be merely reviewed by a review team and

       passed along to investigators. Whether data stored on a computer is evidence may depend

       on other information stored on the computer and the application of knowledge about how

       a computer behaves. Therefore, contextual information necessary to understand other

       evidence also falls within the scope of the warrant.

               e.     Further, in finding evidence of how a device was used, the purpose of its

       use, who used it, and when, sometimes it is necessary to establish that a particular thing

       is not present on a storage medium.

       24.     Nature of examination. Based on the foregoing, and consistent with Rule

41(e)(2)(B), the warrant I am applying for would permit the examination of the electronic devices

seized pursuant to this warrant. The examination may require authorities to employ techniques,

including but not limited to computer-assisted scans of the entire medium, that might expose many

parts of the device to human inspection in order to determine whether it is evidence described by

the warrant.


                                      Conclusion

       25.     Based upon the information above, there is probable cause to believe that Wolf

Barrette Harper did knowingly possess, and transfer machine guns, in violation of 18 U.S.C. §

922(o) and that Harper possessed an unlicensed short-barreled rifle and/or silencer in violation of

Title 26 U.S.C. § 5845.

       26.     There is also probable cause to believe that evidence, fruits, and instrumentalities of

violations, or attempted violations, of 18 U.S.C. § 922(o), 18 U.S.C. § 922(a)(1)(A), and 26 U.S.C.

§ 5845 will be found at the Target Residence.




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